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                          Exhibit A
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STATE OF SOUTH CAROLINA               )       IN THE COURT OF COMMON PLEAS
                                      )
COUNTY OF CHARLESTON                  )       C.A. No:

SHARON LEWIS,                       )
                                    )
            Plaintiff,              )
                                    )                      AMENDED
      vs.                           )                      SUMMONS
                                    )                (JURY TRIAL REQUESTED)
THE MEDICAL UNIVERSITY OF SOUTH)
CAROLINA (MUSC) d/b/a               )
MEDICAL UNIVERSITY HOSPITAL         )
AUTHORITY,                          )
                                    )
                                    )
            Defendant.              )
____________________________________)

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action a

copy of which is hereby served upon you, and to serve a copy of your Answer to the Complaint

on the subscriber at his office at 4000 Faber Place Drive, Suite 300, North Charleston, SC 29405

within thirty (30) days after the service thereof, exclusive of the day of service. If you fail to

answer the Complaint within the time aforesaid, the Plaintiff in this action will apply to the Court

for the relief demanded in the Complaint and judgment by default will be rendered against you.

                                      Respectfully Submitted,

                                      s/Bonnie Travaglio Hunt
                                      Bonnie Travaglio Hunt
                                      Hunt Law LLC
                                      Federal Bar # 07760
                                      SC Bar # 12341
                                      Attorney for the Plaintiff
                                      4000 Faber Place Drive, Suite 300, N. Charleston, 29405
                                      Post Office Box 1845, Goose Creek, SC 29445
                                      (843)553-8709
                                      Facsimile (843)492-5509
                                      bthunt@huntlawllc.com

November 3, 2022

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STATE OF SOUTH CAROLINA                 )       IN THE COURT OF COMMON PLEAS
                                        )
COUNTY OF CHARLESTON                    )       C.A. No:

SHARON LEWIS,                       )
                                    )
            Plaintiff,              )
                                    )                         AMENDED
      vs.                           )                         COMPLAINT
                                    )                   (JURY TRIAL REQUESTED)
THE MEDICAL UNIVERSITY OF SOUTH)
CAROLINA (MUSC) d/b/a               )
MEDICAL UNIVERSITY HOSPITAL         )
AUTHORITY,                          )
                                    )
            Defendant.              )
____________________________________)


         The Plaintiff, Sharon Lewis, by and through her undersigned attorney Bonnie Travaglio

Hunt of Hunt Law LLC, does hereby makes the following claims and allegations against the

Defendant, Medical University Hospital Authority:

                                 PARTIES AND JURISDICTION

1.       The Plaintiff is a resident of the State of South Carolina.

2.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331 as this matter

         presents a federal question.

3.       The Defendant, Medical University Hospital Authority (hereinafter referred to as

         Defendant) is a component of the Medical University of South Carolina. The

         hospital is a private non-private 501(c)(3), a general acute care hospital with a

         voluntary governing board, which does business in, contracts in, and derives benefit

         from the laws of the State of South Carolina. The Medical University Hospital

         Authority does not have a registered agent with the South Carolina Secretary of




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         States office and operates under the guise of The Medical University of South

         Carolina.

4.       This action is brought pursuant to Americans with Disabilities Act. The jurisdiction

         of this Court is invoked to secure protection of and redress deprivation of rights

         guaranteed by federal law and state law which rights provide for injunctive and other

         relief for illegal discrimination in employment.

5.       This action is brought pursuant to the Age Discrimination in Employment Act

         (ADEA) 29 U.S.C. 626 for age discrimination.

6.       At all relevant times to the allegation in this complaint, the Plaintiff was an employee

         of the Defendant as defined by State and Federal Law.

7.       On information and belief, Defendant is an entity conducting business and affecting

         commerce in the state of South Carolina properly within the jurisdiction of the Court.

8.       At all times, relevant to the allegations in this Complaint, the Defendant employed

         more than 20 persons in the State of South Carolina.

9.       At all times, relevant to the allegations in this Complaint, the Defendant operated a

         facility in the State of South Carolina.

10.      All parties and events herein mentioned are within the jurisdiction of this Honorable

         Court.

11.      This Court has jurisdiction over the parties and subject matter and venue is proper.

                                 PROCEDURAL HISTORY

12.      That on October 3, 2022, the Plaintiff filed a charge of discrimination with the EEOC

         alleging discrimination based on Age Discrimination, Disability Discrimination,

         Hostile Work Environment and Retaliation.



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13.   That the Charge of Discrimination set forth the following:

      “I. I began my employment on October 25, 2021, as a Document Management

      Specialist. During the hiring process I disclosed my need to use an ambulatory

      device to assist with my mobility. On November 8, 2021, I asked a representative in

      Employment Health Services, for information on how to request a reasonable

      accommodation for my disability-related impairment. I was advised to discuss my

      request with management. On November 9, 2021, management denied my request

      and chastised me for going outside my command. Since this time I have struggled to

      perform the physical-related tasks required of my position. On September 8, 2022,

      I was discharged. II. I was told my request for a reasonable accommodation was

      denied because it wouldn’t be fair to the other employees. I was told I was

      discharged for unsatisfactory performance, and because management did not feel I

      could improve my productivity. III. I believe that I have been discriminated against

      on the basis of disability, and retaliation, in violation of Title I of the Americans with

      Disabilities Act of 1990, as amended.”

14.   The EEOC failed to conduct an investigation into the Plaintiff’s allegations.

15.   The EEOC issued a right to sue on October 12, 2022.

16.   The EEOC Right to Sue set forth “DETERMINATION OF CHARGE: The EEOC

      issues the following determination: The EEOC will not proceed further with its

      investigation and makes no determination about whether further investigation would

      establish violation of the statute. This does not mean the claims have no merit. This

      determination does not certify that the respondent is in compliance with the Statutes.

      The EEOC makes no finding as to the merits of any other issues that might be



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      construed as having been raised by this charge. NOTICE OF RIGHT TO SUE:

      This is official notice from the EEOC of the dismissal of your charge and of your

      right to sue. If you choose to file a lawsuit against the respondent(s) on this charge

      under federal law in federal or state court, your lawsuit must be filed WITHIN 90

      DAYS of your receipt of this notice. Receipt generally occurs on the date that (or

      your representative) view this document. You should keep a record of the date you

      received this notice. Your right to sue based on this charge will be lost if you do not

      file a lawsuit in court within 90 days.”

17.   That not more than 90 days have passed since the issuance of the Right to Sue.

                                          FACTS

18.   That the Plaintiff is a Caucasian Female over the age of forty.

19.   That the Plaintiff applied for a position of Document Management Specialist I with

      the Defendant.

20.   That the Plaintiff was interviewed. That the advertisement for the position was

      different from the job description provided to the Plaintiff during her employment.

      That during the Interview the Plaintiff believed that she could perform the essential

      functions of the position with her cane.

21.   That on October 14, 2021, the Plaintiff went through MUSC Employee Health

      Services, which process individuals for their positions. The Defendant was fine with

      the Plaintiff performing her position with a cane. At that time, they asked the plaintiff

      if she needed any other accommodations. The Plaintiff informed health services that

      she felt that she would be fine with her cane. Health Services informed the Plaintiff

      at that time that if she needed any other accommodations she would be required to



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      present medical documentation from her physician. The Plaintiff was the oldest

      individual in her department.

22.   The Plaintiff was hired by the Defendant on October 25, 2021, as a Document

      Management Specialist I.

23.   That the Plaintiff’s direct supervisor was Greg Bellamy with the Lead being Lisa

      Lynch.

24.   That the Plaintiff was hired to work second shift 11:30 am to 8:00 pm.

25.   That the advertisement for the position was different from the job description

      provided to the Plaintiff during her employment. That during the Interview the

      Plaintiff believed that she could perform the essential functions of the position with

      her cane.

26.   As a Document Management Specialist I, the Plaintiff’s job description set forth the

      following: Hours per week: 40; Scheduled Work Hours/Shift: Monday-Friday

      w/ rotating Saturdays, 11:30 am to 8:00 pm. Work schedule is subject to change per

      manager/team lead discretion. Fair Labor Standards Act Status: Hourly; Job

      Summary/Purpose:        Under limited supervision, the Document Management

      Specialist I will assist the Manager, Team Lead and Shift Supervisor in supporting

      the mission of Health Information Services in relation to integrity, security &

      availability of patient records. Minimum Training and Education: High School

      diploma and 2 years’ experience in an administrative support role, preferably within

      healthcare, including basic knowledge of computers & operation.              Medical

      Terminology preferred.     Organizational skills required & ability to multi-task.

      Required Licensure, Certifications, Registration:          Additional Duties and



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    Responsibilities: Physical Requirements: Ability to perform job functions while

    standing. (Frequent) Ability to perform job functions while sitting (Frequent).

    Ability to perform job functions while walking. (Frequent) Ability to climb stairs.

    (Infrequent) Ability to work indoors. (Continuous) Ability to work from elevated

    areas. (Frequent) Ability to work in confined/cramped spaces. (Infrequent) Ability

    to perform job functions from kneeling positions. (Infrequent) Ability to bend at the

    waist. (Frequent) Ability to squat and perform job functions. (Infrequent) Ability

    to perform repetitive motions with hands/wrists, elbows and shoulders. (Frequent)

    Ability to reach in all directions.     (Frequent)    Possess good finger dexterity.

    (Continuous) Ability to fully use both legs. (Continuous) Ability to fully use both

    hands/arms. (Continuous) Ability to lift and carry 15 lbs. unassisted. (Infrequent)

    Ability to lift/lower objects 15 lbs. from/to floor from/to 36 inches unassisted.

    Ability to list from 36 inches to overhead 15 lbs. (Infrequent) Ability to maintain

    20/40 vision, corrected, in one eye or with both eyes. (Continuous) Ability to see

    and recognize objects close at hand or at a distance (continuous) Ability to match or

    discriminate between colors. (Continuous) (Selected Positions) Ability to determine

    distance/relationship between objects; depth perception. (Continuous) Ability to

    maintain hearing acuity, with correction. (Continuous) Ability to perform gross

    motor movements. (Continuous) Ability to work in a latex safe environment.

    (Continuous) *Ability to maintain tactile sensory functions. (Frequent)*(Selected

    Positions) *Ability to maintain good olfactory sensory function (Frequent)

    *(Selected Positions)* Ability to be qualified physically for respirator use, initially

    and as required. (Continuous) (Selected Positions)”



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27.   That the Plaintiff was considered a good employee.

28.   The Plaintiff is familiar with the policies and procedures of the Defendant.

      As a Document Management Specialist I the Plaintiff was required to pick up

      medical records at different locations and return those records to the office, once the

      records were returned to the office they were scanned and indexed.

29.   That the Plaintiff received training when she was hired to perform the position. That

      the Plaintiff was only provided minimum training for her position. At the time the

      Plaintiff was hired, a younger co-worker was hired and received extensive training

      for her position. Both positions were the same. The younger co-worker was treated

      more favorably than the Plaintiff based on age and non-disability.

30.   That the Plaintiff worked with 3 other persons on her shift. That when working the

      individuals on the shift would decide amongst themselves who would go to each of

      the 4 different locations to pick up records, return them to the office, prepare them

      into batches, scan and index the records.

31.   The Plaintiff performed these functions with or without accommodation from date

      of hire until November of 2021.

32.   On November 4, 2021, the Plaintiff saw her treating physician regarding her knees.

      At that time the Plaintiff’s treating physician completed a Parking Management Form

      for the Plaintiff to receive a parking pass.

33.   On November 8, 2021, the Plaintiff requested information from an Employee Health

      Services   Representative,     Andrea    Cumberland,     regarding   a   request    for

      accommodation for a disability-related impairment. Cumberland instructed the

      Plaintiff to speak to the management. The Plaintiff informed Cumberland that she



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      did not want to jeopardize her position by requesting an accommodation or informing

      the Defendant of any medical restrictions. Cumberland and the Plaintiff discussed

      the job description that the Plaintiff had in her possession and that the job description

      was Administrative not the courier position that the Plaintiff was performing.

34.   On November 9, 2021, the Plaintiff sent an email to Andrea Cumberland regarding

      the conversation on the 8th. The Plaintiff expressed concern regarding medical

      conditions.

35.   On November 9, 2021, when the Plaintiff arrived at work, she was ushered into Greg

      Bellamy’s office where she was chastised, degraded, and accused of violating the

      chain of command by going above their heads to the Medical Accommodations

      Assistance in the Human Resources Department.         Bellamy accused the Plaintiff of

      hiding information and not telling them of her medical conditions when in fact the

      Plaintiff had a discussion with Health Services regarding her cane and the use

      thereof.

36.   On November 9, 2021, the Plaintiff gave a letter to Lisa Lynch (Management Lead)

      regarding a Request for Accommodations.

      Hello Lisa Lynch,
      I want to state concerns I have due to mobility issues with regards to my knees.
      Yesterday, November 8, 2021, I completed the process for a parking decal through
      the Office of Parking Management. I do now have a MUSC parking decal to
      accompany my Handicap Placard. My other concern is to try and get
      accommodations to do my assigned job with regards to all of the required walking.
      You see I am unable to ride the normal MUSC BUS as its entry steps are too high
      for me to navigate.
      As you know, I started this job on Monday, October 25, 2021 with MUSC as a
      Document Management Specialist I in Medical Records (MRs). I had all day
      Orientation at my residence on Monday, October 25, 2021 as the covid-19 is
      considered a serious health issue so formal orientation is now done virtually. When
      I interviewed for this position, they told me there would be a lot of walking and I
      thought by what they told me, I could handle it with my cane.


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    When I went to Employee Health Services on October 14, 2021 to be processed for
    this position, I told them of my existing medical condition for my right and left knees
    and they were fine with me using my cane. In addition, they asked me do you need
    any other accommodations. I basically answered that I thought that the cane
    would be suitable. They also said that any other accommodations would require
    medical paperwork from a doctor. But, what these were or could be was not
    explained nor did I ask for further explanation.

    Tuesday, October 26, 2021 was my first workday at the Hospital. On this day, I
    found out that walking is required every day Monday thru Friday on the MUSC
    Campus to pick up medical records which require the work of Bundling,
    Processing, Scanning, and Indexing. So, this mentioned work takes place at the
    Medical Records Office (MRO) which I work out of. In short, I am doing courier
    work by foot to the locations which I get the MRs from. This courier work
    requires going to the locations and back to the MRO.

    A cart is provided that has 2 wheels with compartments to put the records into and
    secure them. But, the courier must now walk back to the MRO.

    Since my first day at the site, I am considered a trainee and have an assigned
    trainer. So, the first week, both my trainer and I walked from the main hospital to
    the MUSC Health Ashley River Tower (ARTS) Center located at 25 Courtenay
    Drive and MUSC Shawn Jenkins Children's Hospital at 10 McClennan Banks Drive
    in Charleston. Every day and/or week may be a different location. Please note that
    these walks were outside from building to building. Again, walks from location to
    location may be a combination of outside and/or inside.

    Of course, outside walks are more difficult than inside walks. But again, the length
    of the walks may present a significant physical challenge as well. So, the second
    week was not as bad as the first week.

    When I am performing work in the MRO, I have no physical challenge to work with
    the assigned equipment and/or the computer. Why? Simply because there is no
    lengthy walking and/or required inside or outside walks.

    There is other transportation that is available such as a Transportation Van. The
    problem with the Transportation Van is that it is not timely and its main purpose
    is for the transport of patients. But, they will take employees. Now I can get onto
    this van as the entry steps are not high and this van has a mechanical lift as well.
    Again, the problem is with this is that a time factor comes into play which may
    affect my Productivity.

    My orthopedic doctor is Waddell Gilmore and he knows I have Osteoarthritis in
    my knees and my right knee is bone on bone. I have been trying to keep up when
    my trainer and I go on medical record pickup but it pretty much affects my right
    knee the whole day.


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      So earlier yesterday, November 8, 2021, I went by Employee Health Services and
      spoke in private with Andrea Cumberland who is an RN over there. Her phone
      number is 843-792-2916. Her email is cumberla@musc.com. She did talk to 3
      different persons about my medical situation. She suggested I talk to management
      first to see if they would give me accommodations for me to do my job. She referred
      to this approach as Plan A. I mentioned my Productivity may suffer because of
      taking too long to complete trips to get MRs as well as returning to the MRO. She
      said one of the accommodations could be to allow more time to retrieve MRs. She
      even mentioned that MUSC has courier services and maybe they could be used as
      well. She also agreed that my walking with a cane and pulling a dolly is unsafe
      especially when done on the outside sidewalks. She did say she would call you and
      give you a heads-up.
      I did say to her that I did not want to jeopardize my employment by making a request
      for either accommodations and/or medical restrictions.

      She wanted to know what the job description said with regards to walking and I
      said I did believe that walking was in it but it did not spell out the kind of walking
      that may be required such as being an on foot courier. She said that she too thought
      that this job would be strictly Administrative.
      She did say that we are here to assist you with getting needed accommodations
      and/or medical restrictions to enable you to perform your job. We are here to help
      you not undermine you.
      She did say that if Plan A is not possible then we will go to Plan B which requires
      medical paperwork. I was relieved by her encouragement.
      I hope and pray that MUSC will work with me in relation to my needed
      accommodations as well as any medical restrictions so I am able to satisfactorily
      perform the job requirements until I can get my surgery to replace my right knee.
      I seriously believe that I can trust you to assist me with this request. I appreciate
      any and all consideration with regards to this request.


37.   After submitting the form to HR, the Plaintiff was chastised by management for

      going outside her chain of command. Due to her fear of being chastised again the

      Plaintiff would not address the issues of accommodation again with management.

38.   On November 18, 2021, the Plaintiff completed an Employee Accommodation

      Medical Certification Form regarding the Plaintiff’s disabilities.       The Plaintiff

      provided this information to MUSC by emailing Brantley Rogers and Andrea

      Cumberland.



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39.   The Defendant failed and refused to grant the Plaintiff any accommodation. The

      Defendant informed the Plaintiff that any accommodation would be unfair to the

      other employees. The Plaintiff continued to work for the Defendant performing all

      aspects of her position without accommodation.

40.   That throughout the Plaintiff’s employment there were no complaints from the

      Plaintiff’s coworkers.

41.   That the Plaintiff used the shuttle bus sparingly to get to each location to pick up

      records without issue. The shuttle bus is strictly for patients at MUSC, but they do

      allow MUSC Employees to use it. But Management gave zero assistance with

      regards to the Plaintiff's getting routine assistance with the shuttle bus. So, the

      Plaintiff's courier work was mostly walking with occasional/limited shuttle bus

      assistance.

42.   That during the Plaintiff’s employment each and every employee was counseled

      regarding production. During the Counseling, the Plaintiff informed the Defendant

      that she was not trained properly and that other employees were better trained than

      her. Even though counseled regarding production, the Plaintiff was also informed

      by her employer that they were there to support her with success.

43.   That the Plaintiff was injured during her employment. As a result of that injury, she

      was perceived as disabled by her employer. On July 23, 2022, the Plaintiff fell on

      her way to work. The Plaintiff was taken to the ER for treatment. While in the ER

      she called management to inform them of the fall.

44.   That after the fall and the Plaintiff was checked out at the ER and released to return

      to work. The Plaintiff went to work and worked the rest of the day.



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45.   That on August 20, 2022, the Plaintiff suffered a second fall at work while outside

      Shawn Jenkins Ambulance Entrance. The Plaintiff was assisted by security and

      nurses, taken to the ER and treated. The Plaintiff was unable to call the office due

      to the fact that she did not have the information to notify her coworkers that she was

      in the ER. After the Plaintiff was permitted to leave the ER, she returned to work

      and informed her lead what had occurred. Lisa Lynch was not happy with the

      Plaintiff but after the Plaintiff told her what had occurred Lynch calmed down and

      informed the Plaintiff that her job was safe.

46.   That after the second fall the Plaintiff’s second level manager made the Plaintiff a

      target. The Plaintiff was being treated differently based on her age and her perceived

      disability. Prior to the Plaintiff’s second level supervisor change, the Plaintiff was

      considered to be one of the best employees with the best work ethics and attendance

      records.

47.   On August 26, 2022, the Plaintiff suffered a medical emergency and was required to

      be hospitalized. The Plaintiff notified her Team Lead, Lisa Lynch. That the Plaintiff

      and the Plaintiff’s husband kept Lisa Lynch informed of the Plaintiff’s status at all

      times. During each conversation, Lynch informed the Plaintiff and the Plaintiff’s

      husband that the Plaintiff’s job was safe and not to worry about it.

48.   That the Plaintiff firmly believed that she was improving and considered an asset to

      the Defendant. At no time did the Plaintiff believe that she would be terminated for

      her performance as she was never threatened with termination.

49.   That the Plaintiff had to seek treatment for her medical conditions and ensured that she

      always had PTO time to cover her treatment.



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50.   That the Plaintiff was informed by Lynch that she would go into unapproved absences on

      September 9, 2022.

51.   That the Plaintiff remained in the hospital until September 2, 2022.

52.   That the Plaintiff's husband contacted MUSC HR on September 2, 2022 and spoke to

      Lakeisha Manigault for additional ADA Forms. The ADA forms were provided by email

      attachment to the Plaintiff's resident email by Lakeisha the same day.

53.   That on September 6, 2022, the Plaintiff went to a scheduled medical appointment with

      her podiatrist. The Podiatrist determined that the Plaintiff could return to work on

      September 8, 2022, as long as she had the mandatory medical restrictions. The Plaintiff’s

      podiatrist completed the MUSC ADA Forms. The Plaintiff was given the original forms

      and the physician’s staff faxed he forms to MUSC Human Resources. The forms were

      also emailed to the Defendant.

54.   On September 7, 2022, the Plaintiff informed Lynch that she was returning to work.

55.   That on September 7, 2022, the Plaintiff was informed that she was approved to return to

      work with restrictions and should return on September 8, 2022.

56.   That the Plaintiff’s coworkers had decided amongst themselves to accommodate the

      Plaintiff’s condition with no issues.

57.   That the Plaintiff was informed she would be accommodated.

58.   The Plaintiff was terminated from her employment on September 8, 2022. The Plaintiff

      was informed that the reason for termination was because the Defendant did not believe

      that she could complete 300 papers per hour.

59.   That no representative from Human Resources participated in the Plaintiff’s termination.

      At all times, the Plaintiff was informed that the termination was within the department.



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60.   On September 8, 2022 the Plaintiff protested the termination and sent an email to Lakeisha

      Manigault.

61.   That the reason provided to the Plaintiff was pretextual. That the Plaintiff was terminated

      for requesting an accommodation for her disability and age.

62.   At all times the Plaintiff could perform the essential functions of her position with or

      without accommodation.

63.   That younger employees with less production were not terminated from their employment.

64.   Those employees who did not have the Plaintiff’s record of a disability, actual disability

      or perceived disability were not terminated for their production or attendance which were

      less than the Plaintiff’s.

65.   That as a direct and proximate result of the Defendant’s intentional and unlawful action

      of wrongfully terminating the Plaintiff, the Plaintiff has suffered lost wages, emotional

      damages, compensatory and consequential damages.

66.   That the Plaintiff is entitled to an award of actual damages, compensatory, consequential,

      and punitive damages against the Defendant for his unlawful termination.

67.   That as a direct and proximate cause of the Defendant’s wrongful termination in violation

      of Americans with Disabilities Act, Age Discrimination, Retaliation and hostile work

      environment of the Plaintiff, the Plaintiff:

      a.      Suffered the loss of her job;

      b.      Suffered the loss of benefits associated with her job;

      c.      Suffered future lost wages and benefits;

      d.      Suffered consequential and compensatory damages;

      e.      Suffered emotional damages;



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      f.      Incurred attorney’s fees and costs as a result of having to bring this action.

68.   That the Plaintiff is entitled to an award of damages against the Defendant for actual

      damages, consequential damages, punitive damages, attorney’s fees, costs of this action

      and other damages, such as this Honorable Court deems appropriate and just appropriate.

                              FOR FIRST CAUSE OF ACTION

  DISCRIMINATION IN VIOLATION OF AMERICANS WITH DISABILITIES ACT

69.   Paragraphs one (1) through sixty-eight (68) are hereby incorporated verbatim.

70.   The Defendant is an employer as defined in ADA.

71.   That the Plaintiff is an employee as defined by the ADA.

72.   That the Plaintiff was considered an exemplary employee.

73.   That while the Plaintiff has been employed with the Defendant, the Plaintiff has

      performed her job duties at a satisfactory level of the Defendant as evidenced by different

      accolades. That others were not terminated for alleged production.

74.   That the Plaintiff was discriminated against based on a record of disability, actual

      disability or perceived disability.

75.   That during the Plaintiff’s employment she notified her employer of her mobility

      limitations prior to starting.

76.   That the Plaintiff requested accommodation from the Defendant in November 2021 and

      again in September 2022. The Plaintiff’s requests were ignored in November of 2021.

      The Plaintiff performed all aspects of her position without accommodation from

      November 2021 until September of 2022. The only explanation provided to the Plaintiff

      for the rejection of her November 2021 request was that it would be unfair to her




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      coworkers. If the Defendant had granted her accommodation the Plaintiff would not have

      suffered the medical emergency in September 2022.

77.   That in September 2022, the Plaintiff requested a second accommodation. The

      Defendant instead terminated the Plaintiff a little over a month from her 1 year

      anniversary.

78.   That the Defendant perceived the Plaintiff as disabled and wanted to find any reason to

      terminate the Plaintiff’s employment.

79.   That the Defendant considered the Plaintiff’s disability or perceived disability when

      considering any and all employment decisions.

80.   That the Defendant treated younger non-disabled employees more favorably.

81.   That the Defendant terminated the Plaintiff from her employment because of her

      perceived disability and their unwillingness that they may have to accommodate the

      disability.

82.   That the Defendant violated its own policies and procedures when it allowed employees

      to harass the Plaintiff based on her actual or perceived disability.

83.   As a result of that perceived disability, the Defendant’s employees terminated her

      employment.

84.   That the Defendant is the proximate and direct cause of damage to the Plaintiff.

85.   That any and all reasons offered by the Defendant as a reason for the Plaintiff’s is

      pretextual.

86.   That the Plaintiff has suffered severe emotional damages as a result of the Defendant’s

      discrimination against the Plaintiff.




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87.   That the Plaintiff was subjected to discrimination based on consideration of her disability,

      the Defendant’s perception of the Plaintiff’s disability, or in consideration of the

      Plaintiff’s disability, the Defendant violated the ADA.

88.   That as a direct result of the Defendant’s violation of ADA the Plaintiff has suffered:

         a. Lost wages and lost benefits;

         b. Future lost wages and Benefits;

         c. Economic damages;

         d. Economic hardship;

         e. Lost wages;

         f. Suffered anxiety, humiliation and emotional damages.

89.   That the Plaintiff is entitled to recover damages from the Defendant in the amount of

      actual damages, consequential damages, punitive damages, reasonable attorney’s fees,

      the costs of this action and all other damages available pursuant to the ADA for the

      Defendant's discrimination against the Plaintiff based on her disability.

                              FOR A SECOND CAUSE OF ACTION

                                HOSTILE WORK ENVIRONMENT

       IN VIOLATION OF THE AMERICANS WITH DISABILITIES ACT AND AGE

                          DISCRIMINATION IN EMPLOYMENT ACT

                                   AGAINST THE DEFENDANT

90.   Paragraphs one (1) through eighty-nine (89) are hereby incorporated verbatim.

91.   That the Plaintiff was an employee of the Defendant.

92.   That the Defendant was an employer in accordance with the Americans with Disabilities

      Act and Age Discrimination in Employment Act.



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93.     That the Defendants subjected the Plaintiff to harassment and hostile work environment.

94.     That the Plaintiff’s work environment was abusive, to the point of severe and pervasive.

95.     That the Plaintiff suffered severe emotional distress as a result of the Defendant’s hostile

        work environment.

96.     That the Plaintiff’s severe emotional distress was foreseeable as a result of the severe and

        pervasive work environment that the Defendant subjected the Plaintiff.

97.     That the Plaintiff has been damaged as a result of the Defendant’s work environment.

98.     That the Defendant are the direct and proximate cause of damage to the Plaintiff.

99.     That the Plaintiff is entitled to actual, compensatory, consequential and punitive damages

        from the Defendant as a result of the hostile work environment.

                             FOR A THIRD CAUSE OF ACTION

       RETALIATION IN VIOLATION OF AMERICANS WITH DISABILITIES ACT

                                 AGAINST THE DEFENDANT

100.    Paragraphs one (1) through ninety-nine (99) are hereby incorporated verbatim.

101.    That the Plaintiff participated in a protected act when she reported discrimination and

        requested a reasonable accommodation.

102.    That the Plaintiff was retaliated against for requesting an accommodation when the

        Defendant allowed its managers to chastise and degrade her for seeking her first

        accommodation and terminating her from her employment when she requested her

        second accommodation.

103.    That the Defendant took adverse employment action against the Plaintiff because she had

        engaged in actions protected by the ADA when she requested a reasonable

        accommodation.



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104.   That the Defendant treated the Plaintiff differently regarding the terms and conditions she

       reported discriminatory actions. The Plaintiff suffered retaliation for her complaints

       regarding discrimination.

105.   That, as a direct and proximate result of the Defendants’ intentional unlawful and

       retaliatory actions, the Plaintiff:

             a. Suffered lost wages and lost benefits;

             b. suffered severe emotional distress;

             c. suffered future lost wages and future lost benefits;

             d. suffered economic damages;

             e. Loss of employment;

             f. Loss of Future employment;

             g. incurred attorney fees for this action;

             h. incurred costs of this action; and

             i. will incur future attorney fees and costs.

106.   That the Plaintiff is entitled to an award of damages in the amount of actual damages,

       compensatory damages, consequential damages, punitive damages, attorney’s fees

       previous, future and present, costs of previous future and this action, and other damages

       such as this Honorable Court deems appropriate and just.

WHEREFORE, the Plaintiff prays for an award of damages against the Defendant in the amount

       of:

A.     Actual damages;

B.     Consequential damages;
C.     Compensatory damages;
D.     Any and all damages permitted under State and Federal Human Affairs Laws;


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E.    Any and All damages permitted under the ADA;
F.    Punitive damages;
G.    All other damages under South Carolina Law;
H.    Other damages such as this Honorable Court deems appropriate and just.




                           Respectfully Submitted,


                           s/Bonnie Travaglio Hunt
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November 3, 2022




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